UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: CLAIRE R. KELLY, JUDGE

MIDWEST FASTENER CORP.,

                                         Plaintiff,

                        v.

UNITED STATES,
                                                      Court No. 17-00231
                                       Defendant,

                    And

MID CONTINENT STEEL & WIRE, INC.,

                             Defendant-Intervenor.



   PLAINTIFF’S COMMENTS ON THE DEPARTMENT OF COMMERCE’S FINAL
       RESULTS OF DETERMINATION PURUSANT TO COURT REMAND




                                                        R. Kevin Williams
                                                        Mark R. Ludwikowski

                                                        Clark Hill PLC

                                                        130 E. Randolph Street, Suite 3900
                                                        Chicago, IL 60601
                                                        (312) 985-5900

                                                        Counsel for Plaintiff

Dated: April 20, 2021
UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. CLAIRE R. KELLY, JUDGE

MIDWEST FASTENER CORP.,

                                                          Plaintiff,

                                v.

UNITED STATES,
                                                                       Court No. 17-00231
                                                         Defendant,

                               and

MID CONTINENT STEEL & WIRE, INC.,

                                          Defendant-Intervenor.



               PLAINTIFF’S COMMENTS ON REMAND DETERMINATION

        On behalf of Plaintiff Midwest Fastener Corp. (“Midwest”), we respectfully submit

these comments on the Final Results of Redetermination Pursuant to Court Remand (“Third

Remand Results”) issued by the U.S. Department of Commerce (“Commerce”) on March 22,

2021.1 In the Third Remand Results, Commerce determined that Midwest’s strike pin anchors,

are not covered by the scope of the antidumping (“ADD”) order on Steel Nails from China

(“China Nails Order”). The Court should for the reasons discussed below affirm the Third

Remand Results.

        In Slip Op. 21-07 (“Third Remand Order”), the Court of International Trade reconsidered

its ruling in Midwest Fastener Corp. v. United States, 42 CIT __, __, 348 F. Supp. 3d 1297, 1302

(2018) (“Midwest I”), remanded Commerce’s second remand determination2, and instructed



1
  Final Results of Redetermination Pursuant to Court Remand, March 22, 2021, ECF No. 104-1 (“Third Remand
Results”).
2
  Final Results of Redetermination Pursuant to Court Remand, June 17, 2020, ECF No. 87-1 (“Second Remand
Results”).


                                                     1
Commerce to “render its determination in conformity with” the Court of Appeals for the Federal

Circuits’ decision in OMG, Inc. v. United States, 972 F.3d 1358 (Fed. Cir. 2020), aff’g 43 CIT

__, 389 F. Supp 3d 1312 (2019).

       In the Third Remand Results, Commerce complied with the Court’s instructions and

determined that –

       [b]ecause of the similarities between OMG’s zinc masonry anchors and
       Midwest’s strike pin anchors, and in light of the intervening decision of the
       CAFC, we now find that Midwest’s anchors are not “nails … constructed of two
       or more pieces” and, therefore, are not covered by the scope of the Order.

       Midwest Fastener supports Commerce’s analysis and conclusion in the Third Remand

Results and respectfully submits that the Court affirm the results.

                                                      Respectfully submitted,
                                                      CLARK HILL PLC

                                                      _/s/ R. Kevin Williams_________________
                                                      R. Kevin Williams
                                                      Mark R. Ludwikowski
                                                      130 E. Randolph St., Suite 3900
                                                      Chicago, IL 60601
                                                      Tel. (312) 985-5900
                                                      Attorneys for Plaintiff Midwest Fastener
                                                      Corp.
Dated: April 20, 2021




                                                 2
